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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


 KURT STOKINGER and JANELLA
 STOKINGER,

                       Plaintiffs,                     Civil Action No: 1:23-cv-00428-PB

 vs.

 ARMSLIST, LLC,

                       Defendant.


          JOINT MOTION TO DIVIDE ORAL ARGUMENT PRESENTATION

       NOW COME the Plaintiffs, Kurt Stokinger and Janella Stokinger, by their attorneys,

McDowell & Morrissette, P.A., and respectfully file this Motion to Divide the Oral Argument

Presentation. The Plaintiffs provide as follows:

       1. Armslist, LLC (Armslist) has filed two Motions to Dismiss, with supporting

memoranda of law in the current action. In its first Motion to Dismiss, Armslist asserts the

Plaintiffs fail to state a claim upon which relief can be granted under Fed. R. Civ. P. 12(b)(6) and

the claims are barred by the New Hampshire Statute of Limitations (N.H. RSA 508:4), the

doctrine of Res Judicata, Collateral Estoppel, and the Communications Decency Act of 1996 (47

U.S.C. § 230). In its second Motion to Dismiss, Armslist asserts this Court lacks personal

jurisdiction under Fed. R. Civ. P. 12(b)(2). The Plaintiffs filed objections, with supporting

memoranda of law, to both motions.

       2. The Court has scheduled a Motion Hearing on both Motions for April 8, 2024 at

10:00 a.m. before Judge Paul J. Barbadoro.



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       3. The Plaintiffs propose separating the arguments and allowing two different attorneys

to present at the April 8 hearing. Attorney Douglas Letter, or another attorney from the Brady

Center to Prevent Gun Violence, will argue against the Motion to Dismiss for Failure to State a

Claim and Counsel from Blank Rome, LLP will argue against the Motion to Dismiss for Lack of

Personal Jurisdiction.

       4. Attorney Andrew Hamilton, counsel for the Defendant, has indicated the Defendant

would also like to separate its oral argument and allow to different attorneys to present at the

hearing. Attorney Mark Rouvalis will argue for the Motion to Dismiss for Failure to State a

Claim and Attorney Andrew Hamilton will argue the Motion to Dismiss for Lack of Personal

Jurisdiction.

       5. Local Rule 7.1(d) states that “Unless otherwise ordered, each side’s argument shall be

limited to fifteen (15) minutes.” The Plaintiffs respectfully request that the hearing be one hour

in length instead of thirty minutes, allowing the Plaintiffs fifteen minutes to argue against the

Motion to Dismiss for Failure to State a Claim and fifteen minutes to argue against the Motion to

Dismiss for Lack of Personal Jurisdiction, or thirty minutes in total for the Plaintiffs’ arguments.

In turn, Armslist would have fifteen minutes to argue its Motion to Dismiss for Failure to State a

Claim and fifteen minutes to argue its Motion to Dismiss for Lack of Personal Jurisdiction, or

thirty minutes in total for the Defendant’s arguments.

       6. Given the number of issues raised in these pleadings, we believe the additional

argument time will benefit the Court in reaching its decision here; the additional time will allow

the attorneys to more fully address the relevant points and respond to whatever questions the

Court has.



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          7. Counsel for both the Plaintiffs and the Defendant hereby jointly request the Oral

Argument be separated for each motion and the hearing be scheduled for one-hour, which side

getting thirty minutes to argue (fifteen minutes per side per motion).


          WHEREFORE, the Plaintiffs respectfully request that the Court grant the following

relief:

          A. Grant this Joint Motion to separate the attorneys that will present at Oral Argument at

             the April 8, 2024 hearing;

          B. Schedule Oral Argument for one (1) hour instead of thirty minutes, allowing for

             fifteen minutes per side per motion; and,

          C. Grant such other and further relief as this Court deems equitable and just.

                                                KURT and JANELLA STOKINGER
                                                By and Through Their Attorneys,

                                                MCDOWELL & MORRISSETTE, P.A.


Dated: March 7, 2024                            By: /s/Mark D. Morrissette
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing will be served electronically through
the Court’s electronic filing system to:

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                                                     By: /s/Mark D. Morrissette




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